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Form ATYHRG



                             United States Bankruptcy Court
                                      Southern District of Florida
                                        www.flsb.uscourts.gov
                                          Division: Miami
                                                                                   Case Number: 11−35737−RAM
                                                                                   Chapter: 13
In re:
Heidy Kenia Reyes
P.O. Box 172205
Hialeah FL 33017
SSN: XXX−XX−9462




                                        NOTICE OF HEARING

NOTICE IS HEREBY GIVEN that a hearing will be held on 11/08/2011 at 09:00AM at the following location:

51 SW First Ave Room 1406, Miami

to consider the following:

[9] Motion to Value and Determine Secured Status of Lien on Real Property Held by Bank of America
Home Loans Servicing for the Benefit of South Atlantic Mortgage Corporation filed by Debtor Heidy
Kenia Reyes

THE MOVANT, (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and shall
file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who fails to
properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities. Electronic
devices, including but not limited to cameras, cellular phones (including those with cameras), pagers, personal
data assistants (PDA), laptop computers, radios, tape−recorders, etc., are not permitted in the courtroom,
chambers or other environs of this court. These restrictions (except for cameras not integrated into a cell
phone device) do not apply to attorneys with a valid Florida Bar identification card, attorneys who have been
authorized to appear by pro hac vice order and witnesses subpoenaed to appear in a specific case. An
attorney seeking entry to the Ft. Lauderdale courthouse facilities must also be admitted to practice in the
Southern District of Florida or be authorized to appear by pro hac vice order. No one is permitted to bring a
camera or other prohibited electronic device into a federal courthouse facility except with a written
order signed by a judge and verified by the United States Marshal's Service. See Local Rule 5072−2.

Dated: 9/21/2011
                                                        By: Andres ^Montejo1
